        CASE 0:06-cr-00440-RHK-AJB             Doc. 71      Filed 03/21/07       Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 06-440 (1)-(3) (RHK/AJB)

                       Plaintiff,
                                                                          ORDER
vs.

Jose Alberto Marquez-Rios (1),
Silvia Alvarado-Galarza (2), and
Candido Carretero-Linares (3),

                       Defendants.




       With the concurrence of counsel for all parties, the March 22, 2007, Status

Conference in the above matter is CANCELED and will be rescheduled.


Dated: March 21, 2007

                                                      s/Richard H. Kyle
                                                      RICHARD H. KYLE
                                                      United States District Judge
